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08/06/2021 01:09 AM CDT




                                                              - 399 -
                               Nebraska Supreme Court Advance Sheets
                                        309 Nebraska Reports
                                                     STATE v. MALONE
                                                     Cite as 309 Neb. 399



                                        State of Nebraska, appellee, v.
                                         Kevin W. Malone, appellant.
                                                       ___ N.W.2d ___

                                        Filed June 4, 2021.    Nos. S-20-118, S-20-460.

                                               supplemental opinion
                  Appeals from the District Court for Douglas County: Shelly
               R. Stratman, Judge. Former opinion modified. Motion for
               rehearing overruled.
                 Richard L. Boucher and Bradley H. Supernaw, of Boucher
               Law Firm, for appellant.
                 Douglas J. Peterson, Attorney General, and Melissa R.
               Vincent for appellee.

                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.

                  Per Curiam.
                  This case is before us on a motion for rehearing filed by the
               appellant, Kevin W. Malone, concerning our opinion in State
               v. Malone, 308 Neb. 929, 957 N.W.2d 892 (2021). We find
               no substantive merit to Malone’s motion and overrule it, but
               modify the opinion as follows:
                  In the analysis section, under the heading “2. Postconvic­
               tion Relief” and the subheading “(b) Claim of Prosecutorial
               Mis­conduct,” id. at 962, 957 N.W.2d at 920, we withdraw the
               second paragraph and substitute the following:
                          - 400 -
      Nebraska Supreme Court Advance Sheets
               309 Nebraska Reports
                    STATE v. MALONE
                    Cite as 309 Neb. 399
     The district court first rejected this argument as pro-
  cedurally barred. However, Malone had amended his
  motion to add an allegation that his appellate counsel had
  been ineffective for failing to raise the claims of pros-
  ecutorial misconduct on direct appeal. The district court
  alternatively rejected Malone’s claim, reasoning that even
  if not procedurally barred, the claim failed to “set forth
  the facts and applicable law to establish an objection
  based on any of these prosecutorial [misconduct] claims
  would . . . have been successful.” We agree.
The remainder of the opinion shall remain unmodified.
                      Former opinion modified.
                      Motion for rehearing overruled.
